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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

                                       IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF COLORADO
                                                                                                               FILED
                                                                                                    UNITED STATES DISTRICT COURT
                                                                                                         DENVER, COLORADO
Civil Action No. 24–cv–02181–MDB                                                                                 4:48 pm, Dec 20, 2024

                                                                                                       JEFFREY P. COLWELL, CLERK

MYKHAEL KUCIAPINSKI

     Plaintiff,

v.

DONNA F. ENNIS,
DANA M GRANT
LYNN J. MATESI,
JEFFEREY A. JOHNSON,
NICHOLS A. BUDENZ
JESSE A NEWHART,
TERRELL HARRIS,
STEVE KERLEY,
DEBORAH MCCABE,
KEITH M. GIVEN,
ANTHONY (LAST NAME UNKNOWN), Resident Agency DCIS Supervisor,
UNKNOWN WASHINGTON DC AREA FEDERAL AGENTS 1-3,
UNKNOWN FEDERAL AGENTS 1-12
DERMOTT O’REILLY,
KELLY MAYO,
JEREMY S. SIBERT, and
JASON DUNN


         Defendants.


                                       AO 88B SUBPOEA TO PRODUCE DOCUMETS
                                                   ATTACHMET A


          DIRECTED TO AGENT DANA M. GRANT, DODIG DEFENSE CRIMINAL INVESTIGATIVE SERVICES

                                                           SPECIFICATIOS

1. Provide the Reports of Investigation documents listing any and all individuals present for any length of time,
   during the multiple operations conducted under all of the known and unbeknownst (to me) Surveillance
   activities, Arrests, Search Warrants, and Ad hoc Interviews executed and/or attempted at: 13664 Random Ridge
   View Colorado Springs, Colorado, 80921.

2. Provide any and all reports with the names of any and all of the individual persons that accompanied you, and/
   or went as a proxy [to you], on any and all of your travels from the Denver Metropolitan Area to the Colorado
   Springs private property, gated community where I was wrongfully detained under House Detention. Wherein,
   upon arrival to the private property, gated community, at: 13664 Random Ridge View Colorado Springs,
   Colorado, 80921, and over the course of 1400 days, you and your colleagues continued extrajudicial activities
   of unwarranted and unlawful surveillance, drive-bys and stakeouts of: me, the residents, the individuals visiting


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    the residence, and the general neighborhood of the gated community using personal and government-issued cell
    phones, cameras, of all makes and types, to include: iPhones and Droids; D/SLRs, pole cams, drones, etc.
        a) Include the names of all of the individuals that accompanied AUSA Sibert and you on your drives from
             the Denver Metropolitan Ares to 13664 Random Ridge View Colorado Springs, Colorado, 80921.
             Include all times of travel to and fro the subject address; and specifically, whereupon AUSA Sibert
             stated that “…he had me lead away from the residence by a Pre-Trial Services Officer so that AUSA
             Sibert, you, and your backup team could interrogate one of the residents…”.

3. Include reports and names of all official, unofficial, authorized and/or unauthorized participants from all of the
   agencies directly and indirectly involved in the investigation and search activities, to include but not limited to
   the names of individuals from both of the agencies for which you were employed during the protracted nine (9)
   years you investigated me; and, the prolonged 1400 days I was unjustifiably detained wearing a GPS Tracker
   until the case was dismissed for lack of a crime and for multiple Constitutional violations.
       a) Your Employer #2: Defense Criminal Investigative Service (DCIS);
       b) Your Employer #1: The Air Force Office of Special Investigations (AFOSI);
       c) The Federal Bureau of Investigations (FBI) Officers that declined to investigate;
       d) The five (5) present Internal Revenue Service Agents that did not identify any Probable Cause;
       e) The Air Force OSI Agents that flagrantly violated 18 U.S.C. §1385 [Posse Comitatus Act];
       f) The National Reconnaissance Office (NRO) Agents that participated in the investigation and searches;
       g) The U.S. Army CID Laboratory Technicians that performed forensics and DNA analysis;
       h) Any other Agencies and/or Departments that participated in the investigation and/or searches.

4. Include the names of the individuals involved in the Ground Plan that may not have directly participated in
   the physical operations - for example, the AUSA, the Special Agents in Charge at each agency that
   approved opening an investigation against me in response to my Whistleblower reporting; and the Special
   Agent in Charge permitting your subsequent maneuvers and action plans that were executed on the
   following known dates: 04 October 2018; 23 October 2018; 16 MAY 2019 at the foregoing location:
   13664 Random Ridge View Colorado Springs, Colorado, 80921.

5. Provide the names, agencies and purpose/roles of the several D.C. Metro Area individuals that also refused
   to identify themselves during the multiple searches upon the residence where I was detained. 13664
   Random Ridge View Colorado Springs, Colorado, 80921.

6. Identify all individuals present at any and every stage of your investigation; including the names of every
   individual that participated in the subsequent Telephonic Eavesdropping, and U.S. Postal Service Mail and
   Parcel intercepts, opening, reading and photographing of mail and parcels; Trash Collections, and
   execution of all Search Warrants. Include the parties involved in the warrants Constitutionally scrutinized
   and deemed “Bad on the Face” along with the individuals that serviced the warrants yet to be scrutinized
   but were nevertheless acted upon at: 13664 Random Ridge View, Colorado Springs, Colorado, 80921.

7. Provide the 18 U.S.C. §2518(1)(c) U.S. Government Applications along with the accompanying required
   full and complete statements justifying the Probable Cause to Wiretap my phone lines for each of the
   required pre-approvals every 30 days; and provide the mandated report of the wiretapping results so far
   obtained from each authorized interception; to include any explanations submitted for failing to obtain data
   for any of the 30-days authorizations. 18 U.S.C. 2518(1)(f).

8. Provide documents with the identification of the individuals participating directly, indirectly, and/or
   supporting the investigation and/or that were present during the search and seizure actions conducted at:
   13664 Random Ridge View, Colorado Springs, Colorado 80921, which, shall be accompanied by an
   affidavit stating that the information is true, correct and complete.

9. Submit documents in PDF format via email to: Mykhael.Kuciapinski@gmail.com; and / or to the below
   contact address at the United States Air Force Academy.



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                                                             DEFIITIOS

Agency Any U.S. Government agency that an individual is/was assigned to or since retired from at the time of
any and all search and seizure actions occurring at 13664 Random Ridge View, Colorado Springs, Colorado
80921.

All Each and every

Any A thing, person, place, where one or more that applies; and where if more than one applies, then each
applies separately

Document Broadly defined as construed under Rule 34 of the Federal Rules of Civil Procedures and is meant
to include, but is not limited to: all tangible and intangible modes of communicating, conveying or providing
any information such as electronic, physical (pen/paper, tablets and other writings, expressions and mediums),
correspondence, communications, notes, extemporaneous notes, agent notes, reports, letters, text messages,
scribbles, doodles, memoranda, drawings, graphs, charts, photographs, discs, computer records, electronic
mail, spreadsheets, databases and any other data compilations from which data can be stored, retrieved,
transferred, obtained and transported.

Duty location An employee’s official geographical duty location that is documented on the most recent
notification of personnel action. The physically assigned location of an employee’s position of record; where
the employee regularly performs his or her duties; the building or other fixed location at which an employee
reports for duty.




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